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 8
                               UNITED STATES DISTRICT COURT
 9
                               CENTRAL DISTRICT OF CALIFORNIA
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     SAMUEL LOVE,                           )   Case: 5:18-CV-00834-DMG-PLA
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                                            )
13                     Plaintiff,           )
14                                          )   DISCOVERY MATTER
     v.                                     )
15                                              Plaintiff’s Points and Authorities in
     TIRUPATI INVESTOR ENTERPRISES, INC., a)
                                            )   Support of Motion:
16   California Corporation; and Does 1-10,
                                            )
17                                               (1) Compelling Initial Disclosures;
                      Defendant.            )        or, in the alternative,
18                                          )    (2) For an Order Excluding Non-
                                            )        Disclosed Witnesses and Documents;
19                                                   and,
                                            )
                                                 (3) Seeking Rule 37 Sanctions.
20                                          )
                                            )
21
                                            )
22                                          )   Date: September 12 , 2018
                                                Time: 10:00 a.m.
23                                          )
                                                Courtroom: 780
                                            )   Magistrate Judge: Hon. Paul L. Abrams
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     Plaintiff’s Memo of P&A              -1-               5:18-CV-00834-DMG-PLA
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 1                       I.     BRIEF STATEMENT OF ISSUES PRESENTED
 2          Whether, and in what form, Defendant should be sanctioned for their failure to serve
 3   Initial Disclosures under Federal Rules of Civil Procedure rule (26)(a)(1).
 4
 5                                      II.     RELEVANT FACTS
 6          Plaintiff is a California resident with physical disabilities. Complaint ¶1; ECF-11. He is
 7   substantially limited in his ability to walk. He is a paraplegic who uses a wheelchair for mobility.
 8   Ibid. Defendant was the owner/operator of the property which is the subject of this lawsuit. Id.
 9   at ¶¶ 2-5. Plaintiff visited this property in March, 2018, and was denied access by virtue of the
10   inaccessible conditions he encountered. Id. at ¶¶ 10-35.
11          1. On June 7, 2018, Plaintiff’s counsel Phyl Grace conducted a Rule 26 meeting with
12   defense counsel Frank Alan Weiser. Among other topics of discussion, Ms. Grace and Mr.
13   Weiser agreed to exchange Initial Disclosures on or before June 21, 2018. Declaration of
14   Jennifer McAllister (hereinafter “McAllister Dec.”) at ¶2. On June 8, 2018, the Plaintiff’s
15   counsel filed a Joint Report with the Court. As per the Joint Report the parties agreed to
16   exchange Initial Disclosures by June 21, 2018. Id. at ¶3; Exhibit 1; ECF-23. Plaintiff served his
17   Initial Disclosures on June 18, 2018. Id. at ¶5; Exhibit 2. Defendant has not yet served its
18   disclosures or responded to Plaintiff’s meet and confers attempts. Id. at ¶9.
19   A.     Attempts at a Meet and Confer
20          As required by the Federal Rules of Civil Procedure rule 37(a)(1) and Central District
21   Local Rule 37-1, Plaintiff has made efforts to meet and confer with Defendant. On July 2,
22   2018, Plaintiff’s counsel sent a letter to Defendant. McAllister Dec. at ¶7. In this letter, Plaintiff
23   announced his intention to meet and confer regarding the missing disclosures. Ibid. Exhibit 3.
24   To that end, Plaintiff requested either service of the disclosures or that Defendant provide a
25   convenient time to meet and confer regarding the same. Ibid. Exhibit 3. As of this date,
26   Defendant has neither served Initial Disclosures nor responded to Plaintiff’s counsel’s
27   correspondence. Id. at ¶9.
     Plaintiff’s Memo of P&A                      -2-                   5:18-CV-00834-DMG-PLA
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 1   B.     No Joint Stipulation Required
 2          Applicable Local Rules require the moving and non-moving parties to confer in good
 3   faith ahead of a discovery motion and in an effort to resolve the underlying dispute. Should the
 4   parties be unable to reach an agreement after the meet and confer, they are to prepare a Joint
 5   Stipulation regarding the discovery dispute. However, Local Rule 37-2.4(a) waives this
 6   requirement where there is a “… declaration from counsel for the moving party establishing that
 7   opposing counsel… failed to confer in a timely manner in accordance with Local Rule 37-1…”
 8          Here, Plaintiff sent a meet and confer letter to Defendant. The final, July 2, 2018, letter
 9   outlines the specific discovery issue and the preferred solution. Further, Plaintiff extended an
10   invitation to Defendant to contact Plaintiff should counsel wish to meet and confer further. See
11   McAllister Dec. at ¶ 7; Exhibit 3. Plaintiff was willing to make all arrangements to discuss the
12   discovery dispute had Defendants only provided their availability, per Local Rules. However, to
13   date, Plaintiff has received neither Initial Disclosures nor a response to the meet and confer.
14   Under these circumstances— where opposing counsel has failed to confer in a timely manner in
15   accordance with Local Rule 37-1—there is no requirement placed upon Plaintiff to provide a
16   Joint Stipulation.
17
18                                      III. LEGAL ARGUMENT
19          Federal Rules of Civil Procedure rule 26(a)(1)(A) provides that a party, without awaiting
20   a discovery request, must provide the other party initial discovery disclosures, including but not
21   limited to: The names of witnesses, documents, and other tangible items a party may use to
22   support its claims or defenses. Further, "[a] party must make its initial disclosures based on the
23   information then reasonably available to it." Fed. R. Civ. P. 26(a)(1)(E). If a party fails to serve
24   its Initial Disclosures, the other party is empowered to move to compel disclosures and/or
25   appropriate sanctions. Fed. R. Civ. P. 37(a)(3)(A).
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     Plaintiff’s Memo of P&A                     -3-                  5:18-CV-00834-DMG-PLA
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 1   A.     Defendants Should Be Compelled to Serve Disclosures
 2          Defendant has failed to serve Initial Disclosures, in violation of both the Federal Rules
 3   and the Joint Report. Further, Defendant continues to ignore their obligations with regard to
 4   disclosures, despite multiple attempts by Plaintiff to avoid judicial intervention. Service of
 5   Initial Disclosures is a routine and well-known step in litigation—one which applies to all and
 6   must be respected. Such a failure warrants an Order compelling disclosures.
 7
 8   B.     In the Alternative, This Court Should Issue an Exclusion Order with Regard to
 9          All Witnesses and Documents Currently Known to Defendants
10          When a party fails to serve a disclosure containing documents and/or witnesses as
11   required by Rule 26(a), the party is not allowed to use that information or witness to supply
12   evidence on a motion, at a hearing, or at a trial, unless the failure was substantially justified or is
13   harmless. Fed. R. Civ. P. 37(c)(1). In addition to or instead of this sanction, the court, on motion
14   and after giving an opportunity to be heard, may: Inform the jury of the party's failure and/or
15   may impose other appropriate sanctions, including any of the orders listed in Rule
16   37(b)(2)(A)(i)-(vi). Defendants can offer no justifiable excuse in refusing to provide disclosures.
17   Further, Defendants have been—with the exception of Disclosures—actively participating in
18   litigation. Thus, there can be no justifiable excuse for not serving disclosures. Further, this act is
19   far from harmless; Plaintiff is eager to build his case and is unable to do so completely because
20   of lack of information from the defendants. Because there is no justifiable excuse for not
21   serving the disclosures, and this act is not harmless, this Court should prohibit Defendant from
22   using any witness or document that was not initially disclosed to supply evidence of any defense
23   at any stage in this litigation.
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     Plaintiff’s Memo of P&A                      -4-                   5:18-CV-00834-DMG-PLA
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 1                        V. FINAL STATEMENT AND REQUESTED RELIEF
 2          Despite having nearly two months to do so, Defendant has flouted its Rule 26
 3   obligations by completely failing to provide Plaintiff with their Initial Disclosures. There is no
 4   justifiable excuse for this failure, especially in light of their participation in the case generally.
 5   Moreover, Defendant has done so in the face of Plaintiff’s good-faith attempt to resolve this
 6   dispute informally. Accordingly, Plaintiff requests that Defendant be ordered to serve Initial
 7   Disclosures. Otherwise, Plaintiff requests that this Court sanction Defendant by precluding it
 8   from introducing currently-known evidence at trial.
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11   Dated: August 17, 2018                      CENTER FOR DISABILITY ACCESS
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13                                               By: /s/ Jennifer A. McAllister
14                                               Jennifer A. McAllister
                                                 Attorneys for Plaintiff
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